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                               EXHIBIT A
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)
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In re:                                                            Chapter 11

BED BATH & BEYOND INC., et al.,1                                  Case No. 23-13359 (VFP)

                                   Debtors.                       (Jointly Administered)


       ORDER GRANTING DEBTORS’ (I) SECOND OMNIBUS OBJECTION TO
     CERTAIN TAX CLAIMS AND (II) MOTION TO DETERMINE TAX LIABILITY
        AND STAY PROCEEDINGS WITH RESPECT TO CERTAIN CLAIMS

          The relief set forth on the following pages, numbered two (2) through four (5), is

ORDERED.




1
     The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of
     the Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the
     website of the Debtor’s proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby.


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                                DETERMINE TAX LIABILITY AND STAY PROCEEDINGS WITH
                                RESPECT TO CERTAIN CLAIMS

          Upon the Debtors’ (I) Second Omnibus Objection to Certain Tax Claims and (II) Motion

to Determine Tax Liability and Stay Proceedings [Docket No. 2180] (the “Omnibus Objection”)1

on behalf of the Plan Administrator, as successor to Bed Bath & Beyond Inc. and its affiliated

debtors (the “Debtors”), for entry of an order (this “Order”), pursuant to sections 105(a), 502, and

505 of the Bankruptcy Code, Bankruptcy Rule 3007, and Local Rule 3007-2 (i) determining

market values to establish the bases upon which to compute taxes for tax year 2023 as to the Claims

and to stay state proceedings and (ii) modifying or reducing the claims listed on Schedule 1

attached to this Order based on the determination of assessed value of the Debtors’ property; and

the Court having jurisdiction to consider the Omnibus Objection and the relief requested therein

in accordance with 28 U.S.C. §§ 157 and 1334; and consideration of the Omnibus Objection and

the relief requested therein being a core proceeding in accordance with 28 U.S.C. § 157(b)(2); and

it appearing that proper and adequate notice of the Motion has been given and that no other of

further notice is necessary; and venue being proper in this District pursuant to 28 U.S.C. §§ 1408

and 1409; and after due deliberation and sufficient cause appearing therefor

IT IS HEREBY ORDERED THAT:

          1.        The Omnibus Objection is GRANTED as set forth herein.

          2.        Pursuant to section 505(a) of the Bankruptcy Code, the Court finally determines

that the Revised Fair Market Values set forth on the Assessment Schedule attached as Exhibit 1 to




1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Omnibus
    Objection


                                                      2
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the Lammert Declaration are the appropriate bases upon which the California Authorities are to

compute taxes for the tax year 2023 for the Property. All tax related administrative or state

proceedings (whether administrative hearings, administrative appeals, judicial appeals, or state

court litigation) related to the valuation of the Property and related deadlines are hereby

discontinued with prejudice and are finally determined as set forth herein..

          3.        The Claims set forth on Schedule 1 attached hereto shall be reduced or modified for

the tax year 2023 based on the Revised Fair Market Values set forth in the Assessment Schedule

and reflected on Schedule 1 hereto, in full and final satisfaction of the 2023 tax year.

          4.        Nothing contained in this Order shall impair the rights of the Plan Administrator to

seek, pursuant to section 505 of the Bankruptcy Code, a refund of any taxes previously paid with

respect to the Property.

          5.        The objection to each Claim addressed in the Omnibus Objection and as set forth

in Schedule 1 attached hereto, constitutes a separate contested matter as contemplated by

Bankruptcy Rule 9014. This Order shall be deemed a separate order with respect to each Claim

that is the subject of the Omnibus Objection and this Order. Any stay of this Order pending appeal

by any claimants whose claims are subject to this Order shall only apply to the contested matter

that involves such claimant and shall not stay the applicability and/or finality of this Order with

respect to any other contested matters addressed in the Omnibus Objection and this Order.

          6.        The requirement set forth in Local Rule 9013-1(a)(3) that any motion or other

request for relief be accompanied by a memorandum of law is hereby deemed satisfied by the

contents of the Omnibus Objection or otherwise waived.

                                                     3
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Debtors:                        BED BATH & BEYOND INC., et al.
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          7.        Notwithstanding any applicability of any of the Bankruptcy Rules, the terms and

conditions of this Order shall be immediately effective and enforceable upon its entry.

          8.        The Debtors or their successors are authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order.

          9.        Other than as set forth in Schedule 1, nothing contained herein shall be considered

“law of the case” and/or waive or otherwise limit any other claimant’s defenses in connection with

the Motion.

          10.       This Court shall retain jurisdiction over all matters arising from or related to the

implementation and interpretation of this Order.




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                                                                             SCHEDULE 1

                                                                                                                               2023 Portion
                                                                                                               2023 Revised                   Revised 2023
                             Claim                                   Claim                     2023 Asserted                     of Total
        County                                   Claimant                      Account No.                     Fair Market                       Claim
                             Status                                   No.                         Value                           Claim
                                                                                                                  Value                         Amount
                                                                                                                                 Amount
Butte                     Secured          Butte County              8808    800-044-188-000    $268,510.00     $23,370.00     $3,392.06        $260.90

Humboldt                  Priority         Humboldt County           17803   800-009-016-000    $214,753.00     $44,176.00     $2,646.64        $493.44
Marin                     Priority         Marin County               322    B03-009-55        $1,933,946.00    $24,992.00     $27,618.84       $291.26

Monterey                  Secured          Monterey County           17670   800-032-868-000    $291,510.00     $11,665.00     $4,156.96        $128.82
                                           City and County of
*San Francisco            Priority                                   17635   162359001         $2,915,855.00    $42,577.00     $37,894.36       $502.30
                                           San Francisco
Stanislaus                Priority         Stanislaus County         17767   800-017-763-000    $260,940.00     $25,218.00     $3,114.69        $273.65
** Santa Barbara          N/A              N/A                        N/A    07717042-030-9     $630,370.00    $104,233.00       N/A          $1,098.92
** Tulare                 N/A              N/A                        N/A    800-233-234-000    $545,640.00     $65,138.00       N/A            $683.43
* San Francisco's gross claim includes property tax, registration and annual business tax fees. The Claim and Allowed Amounts are for the property
tax portion of the claim.
** N/A no claim filed.




                                                                                  5
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